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                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

GAIL KASPRZAK                              :      CIVIL ACTION
A/K/A GAIL KASPER, et al.,                 :
           Plaintiffs,                     :
      v.                                   :
                                           :
CELEBRITY BOXING                           :
ENTERTAINMENT, LLC,                        :
         Defendant.                        :      NO. 21-cv-03379

                                       ORDER

       AND NOW, this 23rd day of December 2021, upon review of Defendant’s Motion to

Dismiss and Motion to Strike (ECF No. 14) and Plaintiff’s Response in Opposition (ECF No. 15),

it is hereby ORDERED that Defendant’s Motion to Dismiss and Motion to Strike (ECF No. 14)

are DENIED.

       It is further ORDERED that Defendant shall answer Plaintiff’s Amended Complaint

(ECF No. 11) by 12:00 p.m. (noon) on or before January 18, 2022.



                                                   BY THE COURT

                                                  /s/ Chad F. Kenney

                                                   CHAD F. KENNEY, JUDGE
